IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

DERRICK JOVAN McRAE, )
Petitioner,

Vv 1:21CV577
ERIK HOOKS,
Respondent.

ORDER OF UNITED STATES MAGISTRATE JUDGE

Petitioner, a prisoner of the State of North Carolina, seeks a writ of habeas corpus
pursuant to 28 U.S.C. § 2254. (Docket Entry 1.) Respondent has filed a motion to dismiss
on statute-of-limitations grounds (Docket Entry 8). Petitioner concedes that his petition is
untimely but claims that he presents reliable evidence of actual innocence sufficient to proceed
through the McOuigein/ Schlup gateway to merits review. In aid of this argument, Petitioner has
requested that this Court grant him limited discovery. (See Docket Entries 13, 14.)
Respondent filed a response in opposition to the motion for discovery (Docket Entry 16).
Petitioner replied to the opposition (Docket Entry 17). For the reasons that follow, the
motion for discovery will be granted.

Rule 6(a)

Rule 6(a) of the Rules Governing Section 2254 Cases provides that “[a] judge may, for
good cause, authorize a patty to conduct discovery under the Federal Rules of Civil
Procedure.” Rules Governing § 2254 Cases Rule 6(a). A petitioner shows such good cause

“where specific allegations before the court show reason to believe that the petitioner may, if

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the facts are fully developed, be able to demonstrate that he is[ ] entitled to relief.” Bracy v.
Gramley, 520 U.S. 899, 909 (1997) (citation omitted). In the context of this case, the relief
Petitioner seeks passage through the actual-innocence gateway authorized by McQuiggin v.
Perkins, 569 U.S. 383, 392 (2013), to the merits review of his time-barred petition.

Petitioner received very little discovery from the State prior to his trials. (See Docket
Entry 1 at 15.10.) Duting his Motion for Appropriate Relief (“MAR”) proceedings, the State
produced discovety that included the investigative file from the Rockingham Police
Department (“RPD”). (Docket Entry 14 at 2.) At the MAR hearing, the lead detective in
Petitioner’s case, Robert Voorhees, testified that the master file was not complete: “It’s missing
a lot of the information that’s indexed in it.” (Docket Entry 10-16 at 141.) Petitioner seeks
the documents missing from the file and, if they are not located, asks to be allowed to depose
membets of the district attorney’s office and police officers who had access to and/or
responsibility over the files.

Petitionet’s actual-innocence claims challenge, in patt, the quality of the police
investigation in his case. The missing fout-and-a-half months of documents from the RPD
master file should have included information on the investigation, including other suspects
who wete investigated, according to Voorhees. (See Docket Entry 10-17 at 84.) All the
otiginally withheld statements implicating Petitioner were made between Februaty 21 and
Match 1, 1996. (Docket Entry 14 at 3; see Docket Entry 1 at 13.) Petitioner raises valid
questions regarding what the missing files, particularly those created before police zeroed in
on Petitioner and Thurmond Nelson as the main suspects, might contain and what exculpatory

evidence might be revealed when the documents are produced.

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Petitionet’s specific allegation that the missing documents will shed light on the police’s
investigation of the victim and other suspects gives the Court reason to believe that Petitioner
may be able to meet the actual innocence threshold if the facts in his case ate fully developed.
Petitioner, therefore, has shown good cause that limited discovery would lead to evidence that
may entitle him to relief. In the interests of justice, the Court grants Petitioner leave to conduct
discovety. Petitioner may (1) seek production of the RPD files relating to the murder of
Jeremy Rankin, dating from October 14, 1995, to March 1, 1996, and (2) if the files cannot be
located or produced, depose relevant members of the RPD and the district attorney’s office
regarding the location and contents of the files. The patties have forty-five days to complete

this discovery.

CONCLUSION
Petitioner has shown good cause for this Court to authorize limited discovery in this
case. Pending completion of discovery, the Court will stay action on Respondent’s motion to
dismiss (Docket 8). Additionally, the Court will grant Respondent’s unopposed motion for
leave to expand wotd limitation (Docket Entry 9) as it relates to the brief in support of its

response to the habeas petition (Docket Entry 10).

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IT IS THEREFORE ORDERED that Respondent’s motion for leave to expand
word limitation (Docket Entry 9) is GRANTED and that Petitioner’s motion for discovery
(Docket Entry 13) is GRANTED, to the limited extent that Petitioner may seek the files
missing from the Rockingham Police Department master file from the time the investigation
was opened (October 14, 1995) to the atrest date of the Petitioner (Match 1, 1996). In the
case that the files cannot be located, Petitioner may depose such officers of the RPD and
membets of the district attorney’s office who had access to and/or conttol of the master file
regarding the whereabouts and contents of the missing files. The patties have forty-five days
to complete this discovery.

IT IS FURTHER ORDERED that Respondent’s motion to dismiss (Docket Entry

8) is STAYED pending completion of discovery. The Cletk’s office is to stay Docket Entry

Quy Mulitos

N Joe L. Webster
United States Magistrate Judge

8 until further orders from the Court.

August 29, 2022
Durham, North Carolina

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